Case 1:22-cr-10354-WGY Document 62-1 Filed 02/15/24 Paywabees® Ralph Lindner
P.O. Box 393
Comfort, TX 78013

January 3, 2024

Hon. William G. Young

United States District Judge
United States Federal Courthouse
1 Courthouse Way

Boston, Massachusetts 02210

Re: Matthew Jordan Lindner
Dear Judge Young:

We, Ralph and Annabelle, are the parents of Matthew Jordan Lindner affectionately called “Matty”. Our family began in
1964. Ralph and | have lived in Comfort, Texas all our lives. Comfort is a small rural farming and ranching Community. It
is here we raised our four sons, Clayton, Jason, Ethan, and Matthew.

A community that comes together when someone needs aide or assistance. A Community where everyone knows
everyone including their children.

For over 60 years, Ralph managed the family feed mill and ranched and farmed on the side his entire adult life and
continues to offer advice and suggestions to his sons.

| have been in the health care field since 1964. Working for physicians, our small community hospital, then for 13 years
served as the hospital administrator for Starlite Village Hospital where my children often visited and mingled with the
patients who suffered from alcohol and drug abuse. It was there my children learned that one “can take their greatest
liability and turn it into their greatest asset”. | can see Matthew has taken this sage advice as he moves forward with his

life. From 1997 to 2020, my business partner and | owned and operated a home health care agency with over 50
employees.

Our children attended the Comfort Independent School District. All were very competitive in sports, 4H and FFA. In
1972, our first son, Clayton began the Swine Shows and Steer shows which lasted until Matthew graduated in 2003. The
showing and competition continue with our grandchildren to this very day.

Our family traditions are solid, in that we teach our children to have respect for their elders, adults and strangers and to
have faith in a power greater than we. It is here that “No Ma’am”, “No Sir’ are considered signs of respect for others.
Our children adopted these traits and for that we are very proud of them. Now, our grandchildren exhibit the same
politeness and in a couple of years our new great grandchild will learn this trait as well.

For 20 years, Ralph and | were volunteer paramedics for Kendall County EMS serving our local community of Comfort. In
1989, Ralph and | received Outstanding Citizens of the Year from the Comfort Chamber of Commerce. We were
honored to receive the award, but the truth was, we were a reflection of the community as a whole.

We lost our oldest son to Hodgkin’s Cancer in 1989. For four years prior to Clayton’s death, our family was consumed
with doctor and hospital visits. In an effort to save Clayton, our second son Jason at the age of 13 gave bone marrow to
Clayton, they were a perfect match, but to no avail, cancer took Clayton’s life. During this time, Jason at a very early age
took on the responsibility of his two younger brothers, Ethan and Matthew as we worked at putting our family back
together.

Matthew played football from 1992 through 2003. He loved the game and received many awards and accolades for his
athletic abilities. Matthew was the rock of his football teams and knew that it takes teamwork to be successful.
He received a full (agéeal ssbolacshim fan v7 eywhececis nlanes bert Guard aesbifi.gin sorgect, bengyey allowed a sack

of the quarterback. Several young football players in our community insist on wearing #64 which was Matthew’s
number at TCU.

Matthew has volunteered in our community by coaching both little league baseball and the youth football teams with an
emphasis on the participation of all youth no matter their skill.

Matthew participated in the Kendall County 4-H and FFA during which he won numerous county, district and major
Championships and Grand Champions with his showing of swine. He took care of his animals daily which included
feeding, washing, cleaning pig stalls and walking the pigs. A bit of a stinky job!

In his senior year of high school, he was named Most Athletic & Received the Babe Ruth Award. He was Prom King,
Homecoming King and Class Favorite, “a most likeable guy”.

All our boys were loved and encouraged by the community and are still today. Today, daily community friends ask about
Matthew and express their care and support for him.

Our family, like many others, have made mistakes, but these mistakes do not define us, rather we find an opportunity to
move forward clinging to our values, searching for new ways to live, asking for forgiveness and turning the results over
to God. Matthew’s mistake does not accurately define him, his response of humility and remorse more accurately
defines him.

Matthew watched a video that was false and misleading and he regrets reacting to such without checking the validity of
the video. Admittedly, Matthew failed to follow the family tradition of respect. Matthew regrets the language and his
reaction to the video. He has apologized to his entire family and friends.

We have noticed too that Matthew has been changed by the restorative justice program. Matthew was greatly moved
by the humanity displayed in the program. He is more deliberative and wise. He is calmer and better at self-regulation.
A passionate and brave person always ready to step up when needed. He is now more objective about things and takes
more time before he acts. While he is well intentioned, he is now more deliberative in his life actions.

Matthew is an excellent father to his two young children. His parenting skills and presence are essential to his children
as they navigate their early lives and particularly during this difficult time.

Your Honor, Matthew is a kind, gentle giant, intuitive and forgiving person. He is a steady help to us as we age. His error
in judgement was a mistake, but he has assumed responsibility for such, asked for forgiveness and because of such, we,
the family and our community stand ready to support him as he moves forward. As a family and community, we hope
you too will find grace over condemnation for Matthew.

Thank you for your consideration in this most important matter.

Respectfully,

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Annabelle & Ralph Lindner
